                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 1 of 38


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          11                                    UNITED STATES DISTRICT COURT

          12                                 NORTHERN DISTRICT OF CALIFORNIA

          13                                         SAN FRANCISCO DIVISION

          14     HELENE CAHEN, KERRY J. TOMPULIS,                   CASE NO. 4:15-cv-01104-WHO
                 MERRILL NISAM, RICHARD GIBBS, and
          15     LUCY L. LANGDON,                                   PUTATIVE CLASS ACTION
          16                           Plaintiffs,                  DEFENDANTS TOYOTA MOTOR
                                                                    CORPORATION AND TOYOTA MOTOR
          17            v.                                          SALES, U.S.A., INC.’S NOTICE OF MOTION
                                                                    AND MOTION TO DISMISS PLAINTIFFS’
          18     TOYOTA MOTOR CORPORATION,                          FIRST AMENDED COMPLAINT;
                 TOYOTA MOTOR SALES, U.S.A., INC.,                  SUPPORTING MEMORANDUM OF POINTS
          19     FORD MOTOR COMPANY, GENERAL                        AND AUTHORITIES
                 MOTORS LLC,
          20                                                        REQUEST FOR JUDICIAL NOTICE AND
                                       Defendants.                  DECLARATION OF CHRISTINA YANG
          21                                                        FILED CONCURRENTLY
          22                                                        Hearing
                                                                    Date:           November 3, 2015
          23                                                        Time:           3:00 p.m.
                                                                    Courtroom:      2
          24                                                                        The Hon. William H. Orrick
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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                        Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 2 of 38


            1                                                       TABLE OF CONTENTS

            2                                                                                                                                                Page

            3    I.      INTRODUCTION AND SUMMARY OF ARGUMENT ....................................................... 1

            4    II.     SUMMARY OF ALLEGED FACTS AND PROCEDURAL HISTORY ............................... 3

            5    III.    THE LEGAL STANDARDS GOVERNING THIS MOTION ................................................ 7

            6    IV.     PLAINTIFF LACKS ARTICLE III STANDING TO PURSUE HER CLAIMS .................... 8

            7            A.        Plaintiff Does Not Allege That She Experienced Any Vehicle “Hacking” .................. 8

            8            B.        Courts Have Rejected Similar Attempts To Base Article III Standing On
                                   Hypothetical, Third-Party Criminal Conduct .............................................................. 10
            9
                         C.        Plaintiff Also Lacks Standing To Challenge Defendants’ “Data Collection”
          10                       Practices, Because She Does Not Link That Alleged Conduct To Her Own
                                   Experience ................................................................................................................... 13
          11
                 V.      THE STATUTES OF LIMITATIONS BAR ALL OF PLAINTIFF’S CLAIMS .................. 13
          12
                 VI.     PLAINTIFF’S STATE LAW WARRANTY, FRAUD, AND INVASION OF
          13             PRIVACY CLAIMS FAIL AS A MATTER OF LAW ......................................................... 16

          14             A.        Plaintiff Does Not State, And Cannot Pursue, Any Warranty Claim ......................... 16

          15             B.        Plaintiff Also May Not Pursue Derivative Warranty Claims Through Her
                                   California Consumer Protection Or Fraud Claims ...................................................... 20
          16
                         C.        Plaintiff Does Not Allege A Sufficiently “Serious” Invasion To Support A
          17                       Privacy Claim .............................................................................................................. 22

          18     VII.    CONCLUSION ....................................................................................................................... 25

          19
          20

          21

          22

          23

          24

          25

          26
          27
          28

Gibson, Dunn &                                                                          i
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                        Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 3 of 38


            1                                                       TABLE OF AUTHORITIES

            2                                                                                                                                            Page(s)

            3                                                                         Cases

            4    Am. Suzuki Motor Corp. v. Super. Ct.,
                    37 Cal. App. 4th 1291 (1995)........................................................................................................ 19
            5
                 Asghari v. Volkswagen Grp. of Am., Inc.,
            6       42 F. Supp. 3d 1306 (C.D. Cal. 2013)........................................................................................... 14

            7    Ashcroft v. Iqbal,
                    556 U.S. 662 (2009) ........................................................................................................................ 7
            8
                 Banga v. Equifax Info. Servs., LLC,
            9       No. 14–03038–WHO, 2015 WL 3799546 (N.D. Cal. June 18, 2015) .......................................... 23

          10     Bardin v. DaimlerChrysler Corp.,
                    136 Cal. App. 4th 1255 (2006)...................................................................................................... 20
          11
                 Bell Atl. Corp. v. Twombly,
          12         550 U.S. 544 (2007) ........................................................................................................................ 7

          13     Belluomini v. Citigroup, Inc.,
                     No. 13–01743–CRB, 2013 WL 5645168 (N.D. Cal. Oct. 16, 2013) ............................................ 25
          14
                 Biden v. Common Cause,
          15        748 F.3d 1280 (D.C. Cir. 2014) .................................................................................................... 11

          16     Birdsong v. Apple, Inc.,
                    590 F.3d 955 (9th Cir. 2009)................................................................................... 9, 13, 18, 19, 21
          17
                 Brooks v. Wash. Mut. Bank,
          18        No. 12–00765–WHA, 2012 WL 5869617 (N.D. Cal. Nov. 19, 2012) ......................................... 14

          19     Cain v. State Farm Mut. Auto. Ins. Co.,
                    62 Cal. App. 3d 310 (1976)........................................................................................................... 14
          20
                 Chapman v. Pier 1 Imports (U.S.) Inc.,
          21        631 F.3d 939 (9th Cir. 2011)......................................................................................................... 13

          22     Clapper v. Amnesty Int’l USA,
                    133 S. Ct. 1138 (2013) .......................................................................................................... 8, 9, 11
          23
                 Clemens v. DaimlerChrysler Corp.,
          24        534 F.3d 1017 (9th Cir. 2008)........................................................................................... 15, 19, 20

          25     DaimlerChrysler Corp. v. Cuno,
                    547 U.S. 3321 (2006) ................................................................................................................ 8, 11
          26
                 Daugherty v. Am. Honda Motor Co.,
          27        144 Cal. App. 4th 824 (2006).................................................................................................. 16, 20

          28     Doe v. Kaweah Delta Hosp.,
                    No. 08–118, 2010 WL 5399228 (E.D. Cal. Dec. 23, 2010).......................................................... 14
Gibson, Dunn &                                                                           ii
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                        Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 4 of 38


            1                                                      TABLE OF AUTHORITIES
                                                                         (continued)
            2                                                                                                                                           Page(s)

            3    Durkee v. Ford Motor Co.,
                    No. 14–0617–PJH, 2014 WL 7336672 (N.D. Cal. Dec. 24, 2014)............................................... 14
            4
                 Eclectic Prop. East, LLC v. Marcus & Millichap Co.,
            5       751 F.3d 990 (9th Cir. 2014)........................................................................................................... 7

            6    Elias v. Hewlett-Packard Co.,
                     950 F. Supp. 2d 1123 (N.D. Cal. 2013) ........................................................................................ 22
            7
                 Folgelstrom v. Lamps Plus, Inc.,
            8       195 Cal. App. 4th 986 (2011)........................................................................................................ 24

            9    Fredenberg v. City of Fremont,
                    119 Cal. App. 4th 408 (2004)........................................................................................................ 24
          10
                 Frenzel v. AliphCom,
          11        76 F. Supp. 3d 999 (N.D. Cal. 2014) .............................................................................................. 7

          12     Hill v. Nat’l Coll. Athletic Ass’n,
                     7 Cal. 4th 1 (1994) .................................................................................................................. 23, 24
          13
                 Hovsepian v. Apple, Inc.,
          14        No. 08–5788–JF, 2009 WL 2591445 (N.D. Cal. Aug. 21, 2009) ................................................. 17

          15     In re Horizon Healthcare Servs., Inc. Data Breach Litig.,
                     No. 13−7418, 2015 WL 1472483 (D.N.J. Mar. 31, 2015) ............................................................ 12
          16
                 In re iPhone App. Litig.,
          17         844 F. Supp. 2d 1040 (N.D. Cal. 2012) .................................................................................. 22, 24

          18     In re Toyota Motor Corp. Unintended Acceleration Litig.,
                     754 F. Supp. 2d 1145 (C.D. Cal. 2010)......................................................................................... 17
          19
                 In re Yahoo Mail Litig.,
          20         7 F. Supp. 3d 1016 (N.D. Cal. 2014) ............................................................................................ 23

          21     Isaacs v. United States,
                     No. 13-01394-WHO, 2013 WL 4067597 (N.D. Cal. Aug. 1, 2013) .............................................. 7
          22
                 Jones v. ConocoPhillips,
          23        198 Cal. App. 4th 1187 (2011)...................................................................................................... 20

          24     Juniper Networks v. Shipley,
                    No. 09–0696–SBA, 2009 WL 1381873 (N.D. Cal. May 14, 2009) ............................................. 15
          25
                 Kearns v. Ford Motor Co.,
          26        567 F.3d 1120 (9th Cir. 2009)......................................................................................................... 8

          27     Keilholtz v. Lennox Hearth Prods. Inc.,
                    No. 08–00836–CW, 2009 WL 2905960 (N.D. Cal. Sept. 8, 2009) .............................................. 15
          28

Gibson, Dunn &                                                                          iii
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                        Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 5 of 38


            1                                                      TABLE OF AUTHORITIES
                                                                         (continued)
            2                                                                                                                                          Page(s)

            3    Kirsopp v. Yamaha Motor Co.,
                    No. 14-496, 2015 U.S. Dist. LEXIS 68639 (C.D. Cal. Jan. 7, 2015) ........................................... 15
            4
                 Krottner v. Starbucks Corp.,
            5       628 F.3d 1139 (9th Cir. 2010)................................................................................................... 9, 12

            6    Lee v. Toyota Motor Sales, U.S.A., Inc.,
                    992 F. Supp. 2d 962 (C.D. Cal. 2014)............................................................................... 17, 21, 22
            7
                 Loder v. City of Glendale,
            8       14 Cal. 4th 846 (1997) .................................................................................................................. 23

            9    Long v. Graco Children’s Prods., Inc.,
                    No. 13–01257–WHO, 2013 WL 4655763 (N.D. Cal. Aug. 26, 2013) ......................................... 19
          10
                 Lujan v. Defenders of Wildlife,
          11        504 U.S. 555 (1992) ............................................................................................................ 8, 10, 11

          12     MacDonald v. Ford Motor Co.,
                   37 F. Supp. 3d 1087 (N.D. Cal. 2014) .......................................................................................... 13
          13
                 Maya v. Centex Corp.,
          14       658 F.3d 1060 (9th Cir. 2011)....................................................................................................... 11

          15     Morgan v. Harmonix Music Sys., Inc.,
                   No. 08–5211, 2009 WL 2031765 (N.D. Cal. July 7, 2009) .......................................................... 20
          16
                 Morning Star Packing Co. v. Crown Cork & Seal Co.,
          17       303 F. App’x 399 (9th Cir. Dec. 10, 2008) ................................................................................... 13

          18     Osborne v. Subaru of Am. Inc.,
                    198 Cal. App. 3d 646 (1988)......................................................................................................... 19
          19
                 Parker v. Iolo Techs., LLC,
          20        No. 12-00984, 2012 WL 4168837 (C.D. Cal. Aug. 20, 2012)...................................................... 13

          21     Peterson v. Mazda Motor of Am., Inc.,
                    44 F. Supp. 3d 965 (C.D. Cal. 2014) ............................................................................................ 17
          22
                 Pioneer Elec. (USA), Inc. v. Super. Ct.,
          23        40 Cal. 4th 360 (2007) ............................................................................................................ 22, 23

          24     Public Citizen, Inc. v. NHTSA,
                    489 F.3d 1279 (D.C. Cir. 2007),
          25        subsequent determination, 513 F.3d 234 (D.C. Cir. 2008) ............................................................. 9

          26     Raines v. Byrd,
                    521 U.S. 811 (1997) ...................................................................................................................... 13
          27
                 Reilly v. Ceridian Corp.,
          28         664 F.3d 38 (3d Cir. 2011) ............................................................................................................ 12

Gibson, Dunn &                                                                         iv
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                        Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 6 of 38


            1                                                    TABLE OF AUTHORITIES
                                                                       (continued)
            2                                                                                                                                     Page(s)

            3    Ries v. Arizona Beverages USA LLC,
                    287 F.R.D. 523 (N.D. Cal. 2012) .................................................................................................. 14
            4
                 Riva v. PepsiCo,
            5       No. 14−02020−EMC, 2015 WL 993350 (N.D. Cal. Mar. 4, 2015) .............................................. 10

            6    Seifi v. Mercedes-Benz USA, LLC,
                     No. 12−5439−TEH, 2013 WL 2285339 (N.D. Cal. May 23, 2013) ................................... 7, 14, 16
            7
                 Sharma v. BMW of N. Am., LLC,
            8       No. 13–2274–MMC, 2015 WL 75057 (N.D. Cal. Jan. 6, 2015) .................................................. 17

            9    Smith v. Ford Motor Co.,
                    462 F. App’x 660 (9th Cir. 2011) ................................................................................................. 21
          10
                 Smith v. LG Elecs. U.S.A., Inc.,
          11        No. 13–4361–PJH, 2014 WL 989742 (N.D. Cal. Mar. 11, 2014) ................................................ 17

          12     Storm v. Paytime,
                     No. 14−1138, 2015 WL 1119724 (M.D. Pa. Mar. 13, 2015)........................................................ 10
          13
                 Taragan v. Nissan N. Am., Inc.,
          14        No. 09–3660–SBA, 2013 WL 3157918 (N.D. Cal. June 20, 2013) ....................................... 18, 19

          15     Tietsworth v. Sears, Roebuck & Co.,
                     720 F. Supp. 2d 1123 (N.D. Cal. 2010) .................................................................................. 17, 21
          16
                 Troup v. Toyota Motors Corp.,
          17        545 F. App’x 668 (9th Cir. 2013) ................................................................................................. 18

          18     U.S. Hotel & Resort Mgmt., Inc. v. Onity Inc.,
                    No. 13−1499, 2014 WL 3748639 (D. Minn. July 30, 2014) ........................................................ 12
          19
                 Vess v. Ciba-Geigy Corp. USA,
          20        317 F.3d 1097 (9th Cir. 2003)......................................................................................................... 8

          21     Wasco Prods., Inc. v. Southwall Techs., Inc.,
                   435 F.3d 989 (9th Cir. 2006)......................................................................................................... 16
          22
                 White v. Social Security Admin.,
          23        No. 14–05604–JST, 2015 WL 3902789 (N.D. Cal. June 24, 2015) ............................................. 24

          24     Wilson v. Hewlett-Packard Co.,
                    668 F.3d 1136 (9th Cir. 2012)................................................................................................. 20, 21
          25
                 Xavier v. Philip Morris USA, Inc.,
          26        787 F. Supp. 2d 1075 (N.D. Cal. 2011) ........................................................................................ 20

          27     Yumul v. Smart Balance, Inc.,
                    733 F. Supp. 2d 1117 (C.D. Cal. 2010)................................................................................... 14, 15
          28

Gibson, Dunn &                                                                       v
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                         Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 7 of 38


            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                                Page(s)

            3    Yunker v. Pandora Media Inc.,
                    No. 11−03113−JSW, 2013 WL 1282980 (N.D. Cal.),
            4       and 2014 WL 988833 (N.D. Cal. Mar. 10, 2014) ......................................................................... 24

            5                                                           Constitutional Provisions

            6    U.S. Const. art. III, § 2, cl. 1 ................................................................................................................. 8

            7    Cal. Const. Art. I, § 1 ............................................................................................................................ 6

            8                                                                         Statutes

            9    18 U.S.C. § 1030 ................................................................................................................................. 11

          10     Cal. Bus. & Prof. Code § 17200 et seq. ................................................................................................ 6

          11     Cal. Bus. & Prof. Code § 17208 ......................................................................................................... 13

          12     Cal. Bus. & Prof. Code § 17500 et seq. ................................................................................................ 6

          13     Cal. Civ. Code § 1750 et seq ................................................................................................................. 6

          14     Cal. Civ. Code § 1770(a)..................................................................................................................... 14

          15     Cal. Civ. Code § 1783 ......................................................................................................................... 13

          16     Cal. Civ. Code § 1791.1(a) ................................................................................................................. 18

          17     Cal. Civ. Code § 1791.1(c) ................................................................................................................. 17

          18     Cal. Civ. Code §§1790-1795.8.............................................................................................................. 6

          19     Cal. Civ. Proc. Code § 335.1............................................................................................................... 14

          20     Cal. Civ. Proc. Code § 337.................................................................................................................. 13

          21     Cal. Civ. Proc. Code § 338(d) ............................................................................................................. 13

          22     Cal. Com. Code § 2314 ................................................................................................................... 6, 13

          23     Cal. Com. Code § 2314(2)(c) .............................................................................................................. 18

          24     Cal. Com. Code § 2316(2) .................................................................................................................. 17

          25     Cal. Com. Code § 2725 ....................................................................................................................... 13

          26     Cal. Com. Code § 2725(2) .................................................................................................................. 14

          27     Cal. Penal Code § 502 ......................................................................................................................... 11

          28

Gibson, Dunn &                                                                            vi
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                         Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 8 of 38


            1                                                        TABLE OF AUTHORITIES
                                                                           (continued)
            2                                                                                                                                                Page(s)

            3                                                                           Rules

            4    Fed. R. Civ. P. 9(b) ............................................................................................................................... 7

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            9
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                    2015), http://fortune.com/2015/07/14/automakers-share-security-data .......................................... 6
          18
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          19        Surfaces” (2011), http://www.autosec.org/pubs/cars-usenixsec2011.pdf............................. 5, 9, 10

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                    available at http://motherboard.vice.com/read/we-drove-a-car-while-it-was-being-hacked ... 5, 10
          21

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Gibson, Dunn &                                                                            vii
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 9 of 38


            1    TO THE COURT AND ALL PARTIES AND COUNSEL OF RECORD:
            2           PLEASE TAKE NOTICE that on November 3, 2015, at 3:00 p.m., or as soon thereafter as
            3    they may be heard, in Courtroom 2 of this Court, located at 450 Golden Gate Avenue, San Francisco,
            4    California, before the Honorable William H. Orrick, Defendants Toyota Motor Corporation and
            5    Toyota Motor Sales, U.S.A., Inc. (collectively, “Toyota”) will and hereby do move the Court for an
            6    order dismissing all of the claims and causes of action contained in Plaintiff Helene Cahen’s First
            7    Amended Complaint pursuant to Rules 12(b)(1), 12(b)(6), and 9(b) of the Federal Rules of Civil
            8    Procedure. Toyota brings this Motion on the following grounds:
            9           (1)     Plaintiff Cahen’s purported “injury” rests on purely hypothetical, contingent, and
          10     conjectural allegations of harm that could only result from third parties’ criminal acts. Plaintiff’s
          11     allegations of some potential future alleged injuries are not the type of imminent, concrete, and
          12     particularized harms required for Article III standing.
          13            (2)     Even if this Court concluded that Plaintiff had standing to pursue her state law claims,
          14     the complaint still must be dismissed because all of her California warranty, fraud, consumer
          15     protection, and privacy claims are barred by the applicable statutes of limitations, which expired no
          16     later than 2012 (four years after she purchased her 2008 Lexus RX 400h, and more than two years
          17     before she filed this lawsuit).
          18            (3)     Separately, Plaintiff also fails to plead any claim for breach of warranty, fraud or
          19     deception, or invasion of privacy:
          20                    (a)     Plaintiff cannot plausibly allege any claim for breach of warranty because:
          21     (i) any warranties applicable to her 2008 Lexus RX 400h expired by no later than September 2012;
          22     (ii) she does not identify any actionable statement, promise, or malfunction to support a claim for
          23     breach of express warranty; (iii) there are no allegations that her vehicle was not fit for its ordinary
          24     purpose of transportation, and therefore Plaintiff cannot pursue an implied warranty of
          25     merchantability claim under California law; and (iv) she also cannot pursue an implied warranty
          26     claim pursuant to binding Ninth Circuit precedent because she purchased her vehicle from a third-
          27     party dealer and thus lacks privity with Toyota.
          28                    (b)     Plaintiff does not state a claim for fraudulent concealment or violations of

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                       Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 10 of 38


            1    California’s consumer protection/false advertising laws, because she cannot show that Toyota had
            2    any duty to disclose the alleged (and purely hypothetical) “defect,” and she fails to satisfy Rule 9(b)’s
            3    heightened pleading standard applicable to fraud claims.
            4                    (c)    Finally, Plaintiff cannot plausibly allege an invasion of privacy claim under the
            5    California Constitution because she has not alleged, and cannot amend her complaint to allege, either
            6    a reasonable expectation of privacy or the type of serious invasion of privacy required to maintain
            7    this claim.
            8                  STATEMENT OF ISSUES TO BE DECIDED PER CIVIL L.R. 7-4(A)(3)
            9            1.      Whether Plaintiff can establish Article III standing based on a theoretical possibility
          10     that her vehicle might be accessed unlawfully by criminals at some point in the future.
          11             2.      Whether the applicable statutes of limitations bar Plaintiff’s California law claims
          12     relating to her 2008 Lexus RX 400h.
          13             3.      Whether Plaintiff may pursue a claim for breach of express or implied warranty given
          14     that any applicable warranties expired by their own terms more than two years ago, Plaintiff does not
          15     allege that she experienced any problems with her vehicle, and she lacks privity with Toyota.
          16             4.      Whether Plaintiff may pursue derivative warranty claims through her California
          17     consumer protection and/or common law fraud claims when Toyota had no legal duty to disclose the
          18     alleged hypothetical “defect,” and when Plaintiff failed to plead her fraud claims with the
          19     particularity required under Rule 9(b) of the Federal Rules of Civil Procedure.
          20             5.      Whether Plaintiff’s invasion of privacy claim must be dismissed because the
          21     complaint fails to allege either a reasonable expectation of privacy or the type of serious invasion of
          22     privacy required to maintain such a claim.
          23     ///
          24     ///
          25     ///
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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 11 of 38


            1           This Motion is based on this Notice of Motion, the attached Memorandum of Points and
            2    Authorities; the accompanying Declaration of Christina Yang, Request for Judicial Notice, and
            3    attached exhibits; the pleadings and papers on file in this action; and such other matters and argument
            4    as may be presented to the Court at the time of the hearing on this Motion.
            5

            6    DATED: August 28, 2015                       GIBSON, DUNN & CRUTCHER LLP
            7                                                 By:
                                                                              Christopher Chorba
            8
                                                              Attorneys for Defendants Toyota Motor Corporation
            9                                                 and Toyota Motor Sales, U.S.A., Inc.
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Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 12 of 38


            1                      I.      INTRODUCTION AND SUMMARY OF ARGUMENT
            2           Although the First Amended Complaint is a streamlined version of the original pleading
            3    (which was 343 pages long and alleged 238 separate claims arising under the laws of 50 states), it does
            4    not, and cannot, fix the underlying flaws in Plaintiffs’ legal theory. Specifically, Plaintiffs base this
            5    putative class action on a speculative fear that someday, a very sophisticated cyber-criminal might be
            6    able to gain unlawful access to certain vehicles manufactured by Defendants Ford Motor Company,
            7    General Motors LLC, Toyota Motor Corporation, and Toyota Motor Sales, U.S.A., Inc.: “if an outside
            8    source, such as a hacker,” were able to break into a Ford, GM, or Toyota vehicle, and gain “physical
            9    access” to the vehicle’s Electrical Control Unit (“ECU”), then “the hacker could confuse one or more
          10     ECUs and . . . take control of basic functions of the vehicle away from the driver” (Pls.’ First Am.
          11     Complaint [Dkt. 37] (“FAC”) ¶¶ 4, 33 (emphases added)).
          12            None of the Plaintiffs alleges that this criminal “hacking” has occurred to them, or that there is
          13     an imminent danger that an “attacker” will gain access to the controller access network (“CAN”) bus
          14     units or ECUs inside their vehicles. Nor can Plaintiffs cite any actual, real-world incident in which
          15     any of the models of vehicles they own have been “hacked” (a point confirmed by the secondary
          16     sources cited in the complaint that report heavily controlled experiments). But Plaintiffs nonetheless
          17     seek to hold Defendants liable for the mere possibility of a high-tech criminal attack at some point in
          18     the future. This case is analogous to a lawsuit over a “data breach” before there has been any
          19     “breach,” on the theory that a defendant’s computer system might be vulnerable and could be attacked
          20     in the future. Plaintiffs’ lawsuit thus represents the very type of “highly attenuated chain of
          21     possibilities” and “possible future injury” that the Supreme Court has rejected as insufficient to confer
          22     standing. Stretching Article III to accommodate this case would conflict with binding precedent and
          23     contravene the reasonable and sensible limitations enshrined in the United States Constitution.
          24            Even if there were reports of a real-world, non-experimental incident in the vehicles that
          25     Plaintiffs own (and there are none), courts uniformly reject claims that seek preemptive redress for
          26     injuries that could only be caused (if at all) through the tortious and criminal acts of third parties.
          27     Plaintiffs’ speculative theory of liability is not only contrary to precedent, it also defies common sense.
          28     Their claims are legally indistinguishable from the risk that vehicles may be subjected to other, non-

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 13 of 38


            1    computerized acts of vandalism, such as tampering with the brakes, slashing the tires, smashing the
            2    headlights, or cutting the fuel line. That Defendants’ vehicles (like any other product) are not
            3    completely invulnerable to destructive and illegal acts does not make them “defective,” and the
            4    immutable fact that a vehicle cannot be designed to completely thwart all of the potential machinations
            5    of the criminal mind is hardly something for which Defendants can be liable.
            6           Moreover, although the issues Plaintiffs identify have not arisen in real-world scenarios,
            7    vehicle manufacturers are mindful of the need to keep their proprietary technology secure, and they
            8    are working cooperatively with the responsible executive-branch regulators to proactively anticipate
            9    and address future threats. Those efforts are far more effective at stopping a hypothetical scenario
          10     from ever becoming a real one than a private class action based on a purely speculative injury.
          11            Plaintiffs’ lack of Article III standing disposes of this entire action, but all of the California
          12     state law claims by Plaintiff Helene Cahen—the only named plaintiff who purchased or leased a
          13     Toyota vehicle—are legally deficient for several additional and independent reasons:
          14            First, all of Ms. Cahen’s claims are barred by the applicable statutes of limitations. She
          15     purchased her Lexus RX 400h in September 2008, and she was required to bring all of her state law
          16     claims by no later than September 2012 (and earlier for her fraud and privacy claims). Plaintiff cannot
          17     circumvent the limitations barrier by asserting that Toyota somehow “misrepresented” or “failed to
          18     disclose” that a sophisticated criminal could tamper with the vehicle, as both state and federal courts
          19     repeatedly have rejected similar attempts to make manufacturers perpetual “guarantors” of their
          20     products. All of Plaintiff’s claims are several years too late, she has not even attempted to meet her
          21     pleading burden to establish an exception to the statutes of limitations, and the Court should dismiss
          22     her claims with prejudice.
          23            Second, Plaintiff cannot assert any express or implied warranty claim for several reasons:
          24     (a) any warranties applicable to her 2008 Lexus RX 400h expired by their plain terms more than two
          25     years ago (by no later than September 2012); (b) Plaintiff does not identify any actionable statement,
          26     promise, or vehicle malfunction to support her “common law” breach of warranty claim; (c) there are
          27     no allegations that her vehicle was not fit for its ordinary purpose of transportation, and therefore
          28     Plaintiff cannot pursue a claim for breach of the implied warranty of merchantability (either through

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 14 of 38


            1    the Song-Beverly Act or Cal. Com. Code § 2314); and (d) she also cannot pursue an implied warranty
            2    claim because she purchased her vehicle from a third-party dealer and thus lacks privity with Toyota.
            3           Third, Plaintiff cannot allege any derivative warranty claim based on either California
            4    consumer protection/false advertising statutes (Cal. Bus. & Prof. Code §§ 17200 or 17500) or common
            5    law “fraud by concealment,” because she cannot plausibly assert that Toyota had a legal duty to
            6    disclose the CAN bus unit’s alleged vulnerability to hacking. Plaintiff also fails to plead any of her
            7    statutory or common law fraud claims with the particularity required by Rule 9(b).
            8           Fourth, the amended complaint does not state a plausible invasion of privacy claim under the
            9    California Constitution, because Plaintiff admits that the “data collection” practices were disclosed
          10     (and thus, she cannot claim that she had a reasonable expectation of privacy), and the alleged
          11     collection and transmittal of vehicle location data—even if true—does not constitute a sufficiently
          12     “serious” or “egregious” invasion to support this claim. Several courts in this District have rejected
          13     attempts to assert a constitutional privacy claim based on the alleged transmittal of geolocation data.
          14            In sum, after taking two months to amend her pleading, Plaintiff Cahen still cannot plausibly
          15     assert a claim for relief. No future amendment can cure these fundamental legal deficiencies, and
          16     Toyota respectfully requests that this Court dismiss this action with prejudice.
          17              II.     SUMMARY OF ALLEGED FACTS AND PROCEDURAL HISTORY
          18            Plaintiffs Kerry Tompulis, Merrill Nisam, and Helene Cahen filed a 343-page complaint on
          19     March 10, 2015, that asserted 238 claims against Defendants Ford Motor Company, General Motors
          20     LLC, Toyota Motor Corporation, and Toyota Motor Sales, U.S.A., Inc. (Compl. [Dkt. 1].) Plaintiffs
          21     alleged that the Electrical Control Units (ECUs) found in modern vehicles are “connected through a
          22     controller area network (‘CAN or ‘CAN bus’),” and that “[a]n attacker with physical access to a CAN
          23     bus-equipped vehicle could insert malicious code or CAN packets—and could also remotely and
          24     wirelessly access a vehicle’s CAN bus through Bluetooth connections.” (Id. ¶ 36.)
          25            On April 30, 2015, Plaintiffs’ counsel informed Defendants that they were “consulting with
          26     experts and conducting further investigation,” and that they intended to amend the complaint. (See
          27     Joint Stip. [Dkt. 32] at 2; Order Granting Joint Stip. [Dkt. 33] at 1.) In their First Amended Complaint
          28     (“FAC”) filed on July 1, 2015 (Dkt. 37), Plaintiffs assert claims under California, Oregon, and

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Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 15 of 38


            1    Washington law. They dropped 223 of their claims arising under federal law and the laws of other
            2    states, named two additional Ford owners as plaintiffs (but no new Toyota owners), and added a
            3    California invasion of privacy claim. But the central legal theory remains unchanged: Plaintiffs
            4    contend that Defendants’ vehicles are “defective” because there is a future possibility of “hacking.”
            5    (Id. ¶¶ 4, 8, 21, 26–28.) Specifically, they assert that “[t]he ECUs communicate by sending each other
            6    ‘CAN packets,’ which are digital messages containing data and/or requests,” and that “if an outside
            7    source, such as a hacker, were able to send CAN packets to ECUs on a vehicle’s CAN bus, the hacker
            8    could confuse one or more ECUs and thereby, either temporarily or permanently, take control of basic
            9    functions of the vehicle away from the driver.” (Id. ¶ 4 (emphases added).)
          10            Plaintiff Cahen (the sole named plaintiff who owned or leased any Toyota vehicle) alleges that
          11     she purchased a new 2008 Lexus RX 400h from an authorized Lexus dealer in San Rafael, California,
          12     in September 2008. (Id. ¶ 12.) When Ms. Cahen purchased her vehicle, she received a limited
          13     warranty (see Compl. [Dkt. 1] ¶ 51) that covered any “repairs and adjustments needed to correct
          14     defects in materials or workmanship of any part supplied by Lexus” for 48 months or 50,000 miles
          15     (whichever occured first). (See Def.’s Request for Judicial Notice (“RJN”), Ex. 1, at 17–19.) The
          16     warranty expressly disclaimed any guarantee against intrusion through “alteration or tampering,” and
          17     limited any implied warranties “to the duration of these written warranties.” (Id.)
          18            Although Ms. Cahen (like her co-Plaintiffs) asserts that the CAN bus units on Toyota vehicles
          19     “are susceptible to hacking” (FAC ¶¶ 5, 8), she fails to allege that she has experienced any problems
          20     with her CAN bus unit or any other part of her vehicle. To the contrary, she concedes that she did not
          21     realize there could be anything allegedly “defective” with her vehicle “until shortly before this class
          22     action litigation was commenced” (id. ¶ 26), and the FAC continues to rely on secondary sources in
          23     which an unidentified vehicle was hacked under artificially-controlled conditions to demonstrate
          24     possible security vulnerabilities that could be exploited by sophisticated criminals (id. ¶¶ 28–39).
          25     Notably, none of these sources discussed an actual, non-experimental, incident despite widespread use
          26     of CAN-bus technology for more than a decade; the sources did not discuss Plaintiff Cahen’s vehicle
          27     (Lexus RX 400h); nor did these sources explain how an “attacker” could gain “physical” or “remote”
          28     access to the CAN bus unit outside of the conditions of a controlled experiment in which the vehicle

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Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 16 of 38


            1    was made available to researchers attempting to “hack” the vehicle:
            2              The cited reports noted “the absence of any known attacks in the wild,” that widespread
                            attacks “are highly speculative,”1 and that the “possibilities seem more theoretical tha[n]
            3               practical at this point” (Chris Ingalls, “Smart apps pose privacy, security risks in some
            4               new cars” (May 20, 2015), available at http://www.king5.com/story/news/2015/05/19/
                            cars-auto-computer-security-hacking/27610967 (cited in FAC ¶ 15 n.3)).
            5
                           The FAC admitted that “[o]ne journalist described the experience of driving a vehicle
            6               whose CAN bus was being hacked remotely (but under controlled circumstances) . . . .”
                            (FAC ¶ 35 (emphasis added).)
            7
                           Plaintiff cited a “Technical White Paper” in which a cable-connected laptop computer was
            8               used to gain physical access to the CAN bus units in other vehicles (a 2010 Toyota Prius
                            and 2010 Ford Focus). (Id. ¶ 37 n.19 & n.20, citing Miller & Valasek, “Adventures in
            9               Automotive Networks & Control Units,” http://illmatics.com/car_hacking.pdf.)
          10               One article reported that to take control over vehicle functions “requires having a
          11                computer plugged into the car as well as having someone with an intimate knowledge of a
                            car’s software system,” and that “remote access is not currently possible without having
          12                hardware that is hardwired into the car.” (Travers, “Keeping Your Car Safe From
                            Hacking,” CONSUMER REPORTS (May 7, 2015), http://www.consumerreports.org/cro/
          13                news/2015/05/keeping-your-car-safe-from-hacking/index.htm (cited in FAC ¶ 40 n.24).)
          14               Another article quoted an information security researcher, who acknowledged that “[i]t is
                            not easy to hack a car, the sophistication level is pretty high. Each car has a different
          15                language, each piece speaks different words, and not all those pieces have been mapped
          16                publicly.” (Xavier Aaronson, “We Drove a Car While It Was Being Hacked,”
                            MOTHERBOARD (2014), available at http://motherboard.vice.com/read/we-drove-a-car-
          17                while-it-was-being-hacked (cited in FAC ¶ 35 n.17).)

          18               Another report confirmed the speculative nature of these attacks by emphasizing that, “in
                            the wrong hands,” technical information “could also be used maliciously” and that the
          19                vehicles “could be compromised.” (FAC, Ex. 1 [Sen. Edward J. Markey Report, at 3
                            (2015)] (emphases added).) This report also did not identify any real-world incidents.2
          20
                 1
          21       (Stephen Checkoway, “Comprehensive Experimental Analyses of Automotive Attack Surfaces,”
                 at 12−13 (2011), available at http://www.autosec.org/pubs/cars-usenixsec2011.pdf (cited in FAC ¶ 36
          22     n.18) (hereinafter “Checkoway”).)
                 2
          23       An article that post-dated the filing of Plaintiffs’ FAC reported another highly-controlled experiment
                 involving a vehicle (2014 Jeep Cherokee) that is not at issue in this lawsuit. (See Andy Greenberg,
          24     “Hackers Remotely Kill A Jeep On The Highway—With Me In It,” WIRED (July 21, 2015), available
                 at http://www.wired.com/2015/07/hackers-remotely-kill-jeep-highway/.) The researchers who
          25     performed this experiment—“who had already devoted years to researching automotive security
                 exploits—took months to discover the Jeep’s specific vulnerabilities,” which is “not the sort of
          26     investment malicious hackers are likely to make, especially when it would be much easier and cheaper
                 to just cut an enemy’s brakes or put sugar in their gas tank.” (“Don’t Fret. It’s Still Really Hard To
          27     Hack Cars,” POLITICO (July 28, 2015), available at http://www.politico.com/morningtransportation/
                 0715/morningtransportation19332.html.) Further, these researchers (Miller and Valasek) criticized
          28     this lawsuit as “unfortunate” and noted that it “subverts the spirit of our research.” (Valasek, “Lawsuit
                                                                                        [Footnote continued on next page]
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Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 17 of 38


            1           This is not to say that the automobile industry is ignoring the potential threat of criminal
            2    intervention. Key industry stakeholders—including the Defendants in this case, nine other major
            3    automobile manufacturers, parts suppliers, and technology companies—have rallied together and
            4    established an information sharing and analysis center to share best practices on cybersecurity and
            5    subverting potential threats. (See Vanian, “Automakers unite to prevent cars from being hacked,”
            6    FORTUNE (July 14, 2015), available at http://fortune.com/2015/07/14/automakers-share-security-data.)
            7           The FAC also alleges that Toyota collects and transmits data from Plaintiffs’ vehicles to third
            8    parties, “including but not limited to the geographic location of [her] vehicle[] at various times” (FAC
            9    ¶ 135), but Plaintiffs do not cite any specific practices by Toyota or how these practices impacted
          10     Plaintiff Cahen, and the FAC also concedes that “Defendants” disclosed these “data collection”
          11     practices in “owners’ manuals, online ‘privacy statements,’ and terms & conditions of specific feature
          12     activations.” (Id. ¶ 50.)
          13            Although Plaintiff Cahen still cannot allege that any “hacker” ever gained “physical” or
          14     “remote” access to the CAN bus unit in her vehicle (or any other real-world incident in which anyone
          15     else’s vehicle was hacked), and she fails to identify the specific data that Toyota allegedly collected
          16     and transmitted from her 2008 Lexus RX 400h, she nonetheless asserts eight claims arising under
          17     California law on the ground that at some unknown point in the future, third parties may commit
          18     criminal acts involving her vehicle: (1) Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et
          19     seq.; “UCL”); (2) Consumers Legal Remedies Act (Cal. Civ. Code § 1750 et seq.; “CLRA”); (3) False
          20     Advertising Law (Cal. Bus. & Prof. Code § 17500 et seq.; “FAL”); (4) Implied Warranty of
          21     Merchantability (Cal. Com. Code § 2314); (5) Breach of Contract / Common Law Warranty;
          22     (6) Fraudulent Concealment; (7) Song-Beverly Consumer Warranty Act / Implied Warranty of
          23     Merchantability; and (8) Invasion of Privacy (Cal. Const. Art. I, § 1). (Id. ¶¶ 62–138.) Plaintiff seeks
          24     injunctive and monetary relief on behalf of a putative statewide class of “[a]ll persons or entities who
          25     purchased or leased a . . . Toyota Vehicle equipped with networked electronic or computerized
          26
                 [Footnote continued from previous page]
          27
                 counterproductive for automotive industry,” available at http://blog.ioactive.com/2015/03/lawsuit-
          28     counterproductive-for.html.)

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 18 of 38


            1    components connected via a controller area network to an integrated cell phone or Class 1 or Class 2
            2    master Bluetooth device in the State of California.” (Id. ¶ 51.)
            3                    III.    THE LEGAL STANDARDS GOVERNING THIS MOTION
            4            A complaint must be dismissed under Rule 12(b)(6) of the Federal Rules of Civil Procedure
            5    unless it “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is
            6    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
            7    Twombly, 550 U.S. 544, 570 (2007)). The court also may dismiss a complaint under Rule 12(b)(1) if
            8    the “plaintiffs do not carry their burden to allege facts which, if proved, would confer standing on
            9    them.” Seifi v. Mercedes-Benz USA, LLC, No. 12−5439−TEH, 2013 WL 2285339, at *2 (N.D. Cal.
          10     May 23, 2013); Isaacs v. United States, No. 13-01394-WHO, 2013 WL 4067597, at *1 (N.D. Cal.
          11     Aug. 1, 2013) (“If a plaintiff lacks standing . . . the district court has no subject matter jurisdiction.”).
          12             Although courts must accept factual allegations as true for purposes of a motion to dismiss, this
          13     tenet is “inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678; see also Frenzel v. AliphCom, 76
          14     F. Supp. 3d 999, 1005 (N.D. Cal. 2014) (“‘Nor is the court required to accept as true allegations that
          15     are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.’”) (quoting In re
          16     Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008)). After stripping away the “conclusory
          17     statement[s]” in a complaint, the remaining factual allegations must do more than “create[] a suspicion
          18     of a legally cognizable right of action”; they must “raise a right to relief above the speculative level.”
          19     Twombly, 550 U.S. at 555, 561 (citation and quotations omitted); Frenzel, 76 F. Supp. 3d at 1005
          20     (“‘[I]t is within [the court’s] wheelhouse to reject, as implausible, allegations that are too speculative
          21     to warrant further factual development.’”) (quoting Dahlia v. Rodriguez, 735 F.3d 1060, 1076 (9th Cir.
          22     2013)). In making this “context-specific” determination, a court must “draw on its judicial experience
          23     and common sense.” Iqbal, 556 U.S. at 679. This analysis provides a critical gatekeeping function,
          24     because claims must be sufficiently plausible such “that it is not unfair to require the opposing party to
          25     be subjected to the expense of discovery and continued litigation.” Eclectic Prop. East, LLC v.
          26     Marcus & Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014) (citation and quotation omitted).
          27             In addition to these general pleading requirements, Rule 9 requires fraud-based claims to be
          28     pled with particularity. Fed. R. Civ. P. 9(b). As the Ninth Circuit explained, “[a]verments of fraud

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 19 of 38


            1    must be accompanied by the ‘who, what, when, where, and how’ of the misconduct charged.” Vess v.
            2    Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003). See also Kearns v. Ford Motor Co., 567
            3    F.3d 1120, 1125–27 (9th Cir. 2009) (applying Rule 9(b) to UCL and CLRA claims).
            4         IV.     PLAINTIFF LACKS ARTICLE III STANDING TO PURSUE HER CLAIMS
            5            Plaintiff Cahen has failed to plead facts sufficient to establish that she suffered a cognizable
            6    “injury in fact” that satisfies “the irreducible constitutional minimum of standing” under Article III.
            7    Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); U.S. Const. art. III, § 2, cl. 1. To meet her
            8    burden, Plaintiff must allege more than a “highly attenuated chain of possibilities”; instead, as the
            9    Supreme Court has explained:
          10                 To establish Article III standing, an injury must be [1] “concrete, particularized,
                             and actual or imminent; [2] fairly traceable to the challenged action; and
          11                 [3] redressable by a favorable ruling.” “Although imminence is concededly a
          12                 somewhat elastic concept, it cannot be stretched beyond its purpose, which is to
                             ensure that the alleged injury is not too speculative for Article III purposes—that
          13                 the injury is certainly impending.” Thus, we have repeatedly reiterated that
                             “threatened injury must be certainly impending to constitute injury in fact,” and
          14                 that “[a]llegations of possible future injury” are not sufficient.
          15     Clapper v. Amnesty Int’l USA, 133 S. Ct. 1138, 1147−48 (2013) (emphases in original) (internal

          16     citations omitted); see also DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006) (“No principle

          17     is more fundamental to the judiciary’s proper role in our system of government than the constitutional

          18     limitation of federal-court jurisdiction to actual cases or controversies.”).

          19             Plaintiff does not (and cannot) meet these requirements here, because she alleges a “highly

          20     attenuated chain of possibilities” that would occur only (if at all) as a result of sophisticated, third-

          21     party criminal conduct, Clapper, 133 S. Ct. at 1147, and she fails to allege any specific information

          22     about her own experience with “Defendants’” “data collection practices” (FAC ¶¶ 134−138).

          23     A.      Plaintiff Does Not Allege That She Experienced Any Vehicle “Hacking”

          24             The complaint suffers from a fundamental, incurable defect: Plaintiff does not allege that any

          25     vehicle (let alone her vehicle) was “hacked,” nor does she allege any facts to plausibly demonstrate

          26     that she was at risk of being “hacked.” Instead, she alleges nothing more than the “possibility” that, at

          27     some point in the future, she may suffer harm because the CAN bus unit installed in her vehicle may

          28     be accessed unlawfully by a sophisticated third party: “if an outside source, such as a hacker, were

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 20 of 38


            1    able to send CAN packets to ECUs on a vehicle’s CAN bus, the hacker could confuse one or more
            2    ECUs and thereby, either temporarily or permanently, take control of basic functions of the vehicle
            3    away from the driver.” (FAC ¶ 4 (emphases added).) Nowhere in the 200 numbered paragraphs of
            4    the complaint is there any allegation that the CAN bus unit installed in Plaintiff Cahen’s 2008
            5    Lexus RX 400h was hacked, or that she was harmed in any way.
            6           The Supreme Court has “repeatedly reiterated that ‘threatened injury must be certainly
            7    impending to constitute injury in fact,’ and that ‘[a]llegations of possible future injury’ are not
            8    sufficient.” Clapper, 133 S. Ct. at 1147. Likewise, the Ninth Circuit has consistently rejected
            9    attempts to base Article III standing on remote, conjectural, hypothetical, or speculative harms. For
          10     example, that court held that plaintiffs lacked Article III standing to pursue claims that the Apple iPod
          11     was “defective” because it “pose[d] an unreasonable risk of noise-induced hearing loss to its users.”
          12     Birdsong v. Apple, Inc., 590 F.3d 955, 956, 960 n.4 (9th Cir. 2009). It explained that “[a]t most, the
          13     plaintiffs plead a potential risk of hearing loss not to themselves, but to other unidentified iPod users
          14     who might choose to use their iPods in an unsafe manner[,]” and therefore, “[t]he risk of injury the
          15     plaintiffs allege is not concrete and particularized as to themselves.” Id. at 960−61.
          16            One year later, in Krottner v. Starbucks Corp., 628 F.3d 1139, 1143 (9th Cir. 2010), the Ninth
          17     Circuit held that employees whose data was stolen had sufficiently alleged an increased risk of identity
          18     theft that was neither conjectural nor hypothetical, but “if no laptop had been stolen, and Plaintiffs had
          19     sued based on the risk that it would be stolen at some point in the future, [the court] would find the
          20     threat far less credible” and insufficient to establish Article III standing. Similarly, in a pre-Clapper
          21     decision, the D.C. Circuit rejected plaintiff’s theory of standing based on “an increased risk of death,
          22     physical injury, or property damage from future car accidents that [plaintiff] says NHTSA’s rule will
          23     fail to prevent.” Public Citizen, Inc. v. NHTSA, 489 F.3d 1279, 1293−94 (D.C. Cir. 2007), subsequent
          24     determination, 513 F.3d 234 (D.C. Cir. 2008).
          25            In addition, none of the articles and secondary sources cited in the FAC demonstrates that there
          26     is an “imminent” and “real” threat that Plaintiff’s vehicle will be hacked. In fact, they illustrate the
          27     opposite by (1) expressly acknowledging “the absence of any known attacks in the wild”
          28     (Checkoway, supra, at 12-13); (2) recognizing that the likelihood of widespread attacks is “highly

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 21 of 38


            1    speculative” (id.); (3) explaining that “it is not easy to hack a car, the sophistication level is pretty
            2    high” (id.); and (4) noting that the test vehicles were “modified with third-party hardware” because
            3    “[i]n stock form, [the car] is not vulnerable to these attacks” (Xavier Aaronson, “We Drove a Car
            4    While It Was Being Hacked,” MotherBoard, available at http://motherboard.vice.com/read/we-drove-
            5    a-car-while-it-was-being-hacked (2014) (see embedded video) (all emphases added)). One of these
            6    reports quotes a professor who observed, “[i]f you don’t have a risk of being assassinated normally,
            7    then you don’t have a risk of being assassinated from someone hacking your car. If I just want to take
            8    you out, much easier to just shoot you.” (Id.) Underscoring the point, one study repeatedly cautioned
            9    that its results were “experimental” (Checkoway, supra, at 15), and based on “hypothetical” scenarios
          10     (id. at 13) (emphases added).3 Notably, none of the cited sources involved the 2008 Lexus RX 400h.
          11            By advancing a theory of injury that is based on nothing more than simulations demonstrating
          12     what a sophisticated criminal might do under controlled circumstances, Plaintiffs “have effectively
          13     invited the Court to engage in an ‘ingenious academic exercise in the conceivable to explain how
          14     defendants’ actions caused their injury.’” Riva v. PepsiCo, No. 14−02020−EMC, 2015 WL 993350,
          15     at *4, *14 (N.D. Cal. Mar. 4, 2015) (citation omitted). But theoretical, academic exercises cannot
          16     establish a threshold “injury in fact” that satisfies Article III. See, e.g., Storm v. Paytime,
          17     No. 14−1138, 2015 WL 1119724, at *6, *7 (M.D. Pa. Mar. 13, 2015) (rejecting plaintiffs’ attempt to
          18     establish Article III injury-in-fact, and noting that “courts cannot be in the business of prognosticating
          19     whether a particular hacker was sophisticated or malicious enough” to “engage in identity theft”). The
          20     Court should dismiss all of Plaintiff’s claims on this basis alone.
          21     B.     Courts Have Rejected Similar Attempts To Base Article III Standing On Hypothetical,
                        Third-Party Criminal Conduct
          22
                        In addition to a concrete and particularized “injury in fact,” Plaintiff also fails to establish
          23
                 Article III standing because her speculative claims hinge on the future misconduct of third-party
          24
                 criminals. See, e.g., Lujan, 504 U.S. at 560 (the actual injury-in-fact must be “‘fairly . . . trace[able] to
          25
                 3
          26       (See also FAC, Ex. 1, at 3 [Sen. Markey Report] (“Such information-gathering abilities can be used
                 by automobile manufacturers to provide customized service and improve customer experiences, but in
          27     the wrong hands such information could also be used maliciously. In particular, wireless technologies
                 create vulnerabilities to hacking attacks that could be used to invade a user’s privacy or modify the
          28     operation of a vehicle.”) (emphases added).)

Gibson, Dunn &                                                       10
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 22 of 38


            1    the challenged action of the defendant, and not . . . the result [of] the independent action of some third
            2    party not before the court’”). The Supreme Court recently “decline[d] to abandon [its] usual
            3    reluctance to endorse standing theories that rest on speculation about the decisions of independent
            4    actors.” Clapper, 133 S. Ct. at 1150; see also id. at 1150 n.5 (“[P]laintiffs bear the burden of pleading
            5    and proving concrete facts showing that the defendant’s actual action has caused the substantial risk of
            6    harm. Plaintiffs cannot rely on speculation about ‘the unfettered choices made by independent actors
            7    not before the court.’”) (emphasis added; quoting Lujan, 504 U.S. at 562). As the Ninth Circuit has
            8    explained, “[i]n cases where a chain of causation ‘involves numerous third parties’ whose
            9    ‘independent decisions’ collectively have a ‘significant effect’ on plaintiffs’ injuries, the Supreme
          10     Court and this court have found the causal chain too weak to support standing at the pleading stage.”
          11     Maya v. Centex Corp., 658 F.3d 1060, 1070 (9th Cir. 2011) (citing Allen v. Wright, 468 U.S. 737, 757
          12     (1984)). See also Cuno, 547 U.S. at 344 (holding that taxpayers lacked Article III standing because
          13     their claim depended on the future conduct of third-party actors in response to hypothetical events);
          14     Biden v. Common Cause, 748 F.3d 1280, 1285 (D.C. Cir. 2014) (holding that plaintiff lacked standing
          15     because the “alleged injury was caused not by any of the defendants, but by an ‘absent third party’”).
          16            Here, any “harm” depends upon the future tortious and even criminal conduct that would
          17     violate a number of federal and state laws.4 Plaintiff apparently believes that vehicle manufacturers
          18     should be held liable now for alleged vulnerabilities that might be the subject of a criminal attack in
          19     the future. But the Ninth Circuit expressly rejected this very argument in Krottner. There, the court
          20     explained that although employees whose data had been stolen may satisfy Article III standing, the
          21     absence of any actual “theft” would render any injury speculative and non-actionable:
          22                Were Plaintiffs-Appellants’ allegations more conjectural or hypothetical—for
                            example, if no laptop had been stolen, and Plaintiffs had sued based on the risk that
          23                it would be stolen at some point in the future—we would find the threat far less
          24                credible.

          25     4
                   See, e.g., 18 U.S.C. § 1030 (Computer Fraud and Abuse Act; outlaws third-party hacking, such as
          26     “intentionally access[ing] a computer without authorization [] and thereby obtains [] information from
                 any protected computer,” or “intentionally access[ing] a protected computer without authorization, and
          27     as a result of such conduct, recklessly causes damage”); Cal. Penal Code § 502 (Comprehensive
                 Computer Data Access & Fraud Act; criminalizes third-party acts that “tamper[], interfere[], damage,
          28     and [provide] unauthorized access to lawfully created computer data and computer systems”).

Gibson, Dunn &                                                      11
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 23 of 38


            1    628 F.3d at 1143 (emphasis added). That is precisely the theory offered by Plaintiff in this case—that
            2    an “attacker” “could” hack her vehicle at some point in the future. (FAC ¶ 4 (emphasis added).)
            3           Other federal courts have rejected similar theories that depend on future criminal acts,
            4    including “hacking” or other sophisticated attacks. As the Third Circuit explained in Reilly v.
            5    Ceridian Corp., 664 F.3d 38 (3d Cir. 2011), “we cannot now describe how [plaintiffs] will be injured
            6    in this case without beginning our explanation with the word ‘if’: if the hacker read, copied, and
            7    understood the hacked information, and if the hacker attempts to use the information, and if he does so
            8    successfully, only then will [plaintiffs] have suffered an injury.” Id. at 43 (emphases in original). And
            9    U.S. Hotel & Resort Mgmt., Inc. v. Onity Inc., No. 13−1499, 2014 WL 3748639 (D. Minn. July 30,
          10     2014), confronted a similar attempt by private plaintiffs to base Article III standing on hypothetical
          11     injuries that would occur in the future (if at all) only through the criminal intervention of third parties.
          12     In that case, an engineer published a study showing how to open hotel door locks using a homemade
          13     device. Several hotel owners brought a class action against the lock manufacturer, citing the future
          14     risk of unauthorized entry into the hotel rooms. But the District Court held that plaintiffs lacked
          15     Article III standing:
          16                [T]he fact remains that no such unauthorized entry could occur unless and until
                            that third party acted with criminal intent to gain entry. But where the future
          17                injury is contingent upon the actions of another, the Supreme Court has declined
                            “to abandon [its] usual reluctance to endorse standing theories that rest on
          18                speculation about the decisions of independent actors” not before the court.
          19     2014 WL 3748639, at *4 (quoting Clapper, 133 S. Ct. at 1150) (emphasis added). See also In re

          20     Horizon Healthcare Servs., Inc. Data Breach Litig., No. 13−7418, 2015 WL 1472483, at *6 (D.N.J.

          21     Mar. 31, 2015) (“Plaintiffs’ future injuries stem from the conjectural conduct of a third party bandit

          22     and are therefore inadequate to confer standing.”).

          23            Plaintiff’s alleged injury—potential “hacking” of her vehicle—is speculative and entirely

          24     contingent upon the criminal acts of unknown third parties. Plaintiff’s claims are no different than a

          25     claim that a vehicle is “defective” because a criminal might cut the vehicle’s brake lines, slash its tires,

          26     smash the headlights, or throw a brick through the windshield. But this chain of “ifs” and “coulds”

          27     leads only to an independent third-party criminal actor, not Toyota. In sum, Plaintiff stands before the

          28     Court unharmed, and her speculative allegations of future injury that depend upon third parties’

Gibson, Dunn &                                                       12
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 24 of 38


            1    criminal acts are legally insufficient to establish Article III standing.
            2    C.      Plaintiff Also Lacks Standing To Challenge Defendants’ “Data Collection” Practices,
                         Because She Does Not Link That Alleged Conduct To Her Own Experience
            3
                         Plaintiff’s “invasion of privacy” claim (FAC ¶¶ 132−138) also fails for lack of Article III
            4
                 standing. As the Supreme Court has held, private plaintiffs must establish that they have a “‘personal
            5
                 stake’ in the alleged dispute, and that the alleged injury suffered is particularized as to [themselves],”
            6
                 Raines v. Byrd, 521 U.S. 811, 819 (1997), and the Ninth Circuit consistently rejects attempts to base
            7
                 Article III standing on general allegations that are not specific to the plaintiffs, see, e.g., Birdsong, 590
            8
                 F.3d at 961 & n.4; Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 954−56 (9th Cir. 2011).
            9
                         Here, Plaintiff has pled nothing more than a generalized grievance that “Defendants” collected
          10
                 and transmitted unspecified “personal data” to unidentified third parties. (FAC ¶¶ 134−138.) She
          11
                 does not identify what “personal data” Toyota collected from her vehicle, what information Toyota
          12
                 shared with third parties, which third parties received the data, what those third parties did with the
          13
                 data, or any other facts that link the challenged practice to her own experience. In fact, Plaintiff
          14
                 concedes that she learned about this conduct because Defendants disclosed “such data collection in
          15
                 owners’ manuals, online ‘privacy statements,’ and terms & conditions of specific feature activations.”
          16
                 (Id. ¶ 50.) Plaintiff’s generalized grievances are legally insufficient to establish Article III standing.
          17
                 See, e.g., Parker v. Iolo Techs., LLC, No. 12-00984, 2012 WL 4168837, at *4 (C.D. Cal. Aug. 20,
          18
                 2012) (rejecting general allegations that computer software did not work as advertised, because
          19
                 “Plaintiff does not plausibly allege that he suffered from these deficiencies of the software,” and thus
          20
                 he lacked standing). In any event, as discussed below, Plaintiff cannot pursue this claim because she
          21
                 has not established the necessary elements. (Infra pp. 22−25.)
          22
                      V.      THE STATUTES OF LIMITATIONS BAR ALL OF PLAINTIFF’S CLAIMS
          23
                         All of the claims against Toyota fail for the independent reason that they are time-barred.
          24
                 Plaintiff’s claims are governed by two-, three-, or four-year statutes of limitations.5 Her claims
          25
                 5
          26       See Cal. Bus. & Prof. Code § 17208 (UCL—4 years); Cal. Civ. Code § 1783 (CLRA—3 years); Cal.
                 Civ. Proc. Code § 338(d) (fraud—3 years); Cal. Com. Code § 2725 and MacDonald v. Ford Motor
          27     Co., 37 F. Supp. 3d 1087, 1100 (N.D. Cal. 2014) (Song-Beverly Act/Cal. Com. Code § 2314/breach of
                 implied warranties—4 years); Cal. Civ. Proc. Code § 337 and Morning Star Packing Co. v. Crown
          28     Cork & Seal Co., 303 F. App’x 399, 402 (9th Cir. Dec. 10, 2008) (breach of contract—4 years); Cal.
                                                                                   [Footnote continued on next page]
Gibson, Dunn &                                                   13
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 25 of 38


            1    accrued at the time of sale and tender of the vehicle—i.e., when she purchased her Lexus RX 400h
            2    vehicle in September 2008.6 Accordingly, the longest applicable statutes of limitations period
            3    presumptively expired in September 2012, almost three years before Plaintiff filed this lawsuit.
            4           In an attempt to avoid the obvious limitations bar, Plaintiff invokes the “delayed discovery
            5    rule” and the “fraudulent concealment doctrine” (FAC ¶¶ 26–27), but neither exception applies here:
            6           First, the delayed discovery rule cannot excuse Plaintiff’s delay in filing this action. As
            7    another court in this District recently explained, “where applicable, [the delayed discovery rule]
            8    postpones accrual of a cause of action until the plaintiff discovers, or has reason to discover, the
            9    cause of action.” Durkee v. Ford Motor Co., No. 14–0617–PJH, 2014 WL 7336672, at *6 (N.D. Cal.
          10     Dec. 24, 2014). To delay the accrual of a cause of action under this rule, a plaintiff “must specifically
          11     plead facts showing the time and manner of discovery and the inability to have made earlier
          12     discovery despite reasonable diligence.” Id. Moreover, it is plaintiff’s burden to “show diligence,
          13     and conclusory allegations will not withstand” dismissal. Yumul v. Smart Balance, Inc., 733 F.
          14     Supp. 2d 1117, 1130 (C.D. Cal. 2010) (quoting E-Fab, Inc. v. Accountants, Inc. Servs., 153 Cal.
          15     App. 4th 1308, 1319 (2007)). Here, despite the opportunity to further investigate and amend her
          16     complaint, Plaintiff continues to offer only conclusory allegations that her claims should be tolled:
          17                Any applicable statute(s) of limitations has been tolled by Defendants’ knowing
          18     [Footnote continued from previous page]
          19     Civ. Proc. Code § 335.1 and Doe v. Kaweah Delta Hosp., No. 08–118, 2010 WL 5399228, at *13
                 (E.D. Cal. Dec. 23, 2010) (invasion of privacy—2 years). In addition, Plaintiff’s FAL claim is barred
          20     by either the three-year limitations period in Cal. Code Civ. Proc. § 338(a) or the four-year limitations
                 period in the UCL. Compare Ries v. Arizona Beverages USA LLC, 287 F.R.D. 523, 534 (N.D. Cal.
          21     2012) (“Claims under the [FAL] are governed by the three-year statute of limitations set forth in
                 California Code of Civil Procedure Section 338(a)”), with Brooks v. Wash. Mut. Bank, No. 12–00765–
          22     WHA, 2012 WL 5869617, at *3 (N.D. Cal. Nov. 19, 2012) (applying UCL’s four-year statute of
                 limitations to FAL claim). Either way, this claim is time-barred.
          23     6
                   See Cal. Com. Code § 2725(2) (statute of limitations accrues upon tender of delivery); Cal. Civ.
          24     Code § 1770(a) (a CLRA violation arises only in the context of a “transaction intended to result or
                 which results in the sale or lease of goods . . . .”); Asghari v. Volkswagen Grp. of Am., Inc., 42 F.
          25     Supp. 3d 1306, 1319 (C.D. Cal. 2013) (“Under the CLRA, the limitations period begins to run on the
                 date the improper consumer practice was committed.”); Seifi, 2013 WL 2285339, at *6 (“In this case,
          26     the [Song-Beverly Act] cause of action on Plaintiffs’ implied warranty claims accrued, and the four-
                 year statute of limitations began to run, when the breach occurred, which was when tender of delivery
          27     was made.”). See also Cain v. State Farm Mut. Auto. Ins. Co., 62 Cal. App. 3d 310, 314 (1976)
                 (“[T]he statute of limitations does not run [on a constitutional invasion of privacy claim] until the act
          28     causing the [invasion] is discovered, or with reasonable diligence should have been discovered.”).

Gibson, Dunn &                                                      14
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 26 of 38


            1               and active concealment and denial of the facts alleged herein. Plaintiffs and the
                            other Class members could not have reasonably discovered the true, latent
            2               defective nature of the CAN buses until shortly before this class action litigation
                            was commenced.
            3
                 (FAC ¶ 26.) Because Plaintiff fails to allege the “time and manner of her discovery of the facts giving
            4
                 rise to her claims,” she cannot invoke the discovery rule to salvage her untimely claims. See, e.g.,
            5
                 Yumul, 733 F. Supp. 2d at 1131 (holding that plaintiff’s “complaint does not plead sufficient facts to
            6
                 invoke the delayed discovery rule” because she failed to allege how she discovered the breach).
            7
                        Second, for similar reasons, Plaintiff’s conclusory allegations are insufficient to invoke the
            8
                 “fraudulent concealment” doctrine. (See FAC ¶ 26 (“Any applicable statute(s) of limitations has
            9
                 been tolled by Defendants’ knowing and active concealment and denial of the facts alleged herein.”).)
          10
                 To invoke this exception, “plaintiff must show: (1) when the fraud was discovered; (2) the
          11
                 circumstances under which it was discovered; and (3) that the plaintiff was not at fault for failing to
          12
                 discover it or had no actual or presumptive knowledge of facts sufficient to put him on inquiry.”
          13
                 Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1024 (9th Cir. 2008) (internal quotations
          14
                 omitted). Plaintiff does not plead any of these elements here; she does not allege (1) when she
          15
                 discovered that her CAN bus unit was susceptible to hacking, (2) how she discovered the alleged
          16
                 “defect,” or (3) why she was not at fault for failing to discover it sooner. For these reasons, Plaintiff
          17
                 has failed to carry her burden and her claims should be dismissed. See, e.g., Clemens, 534 F.3d
          18
                 at 1024; Yumul, 733 F. Supp. 2d at 1133; Keilholtz v. Lennox Hearth Prods. Inc., No. 08–00836–CW,
          19
                 2009 WL 2905960, at *5 (N.D. Cal. Sept. 8, 2009).
          20
                        Nor has Plaintiff satisfied the additional requirement of alleging “some active conduct by the
          21
                 defendant above and beyond the wrongdoing upon which the plaintiff’s claim is filed, to prevent the
          22
                 plaintiff from suing in time.” Juniper Networks v. Shipley, No. 09–0696–SBA, 2009 WL 1381873,
          23
                 at *5 (N.D. Cal. May 14, 2009) (internal quotations omitted); Kirsopp v. Yamaha Motor Co., No. 14-
          24
                 496, 2015 U.S. Dist. LEXIS 68639, at *13–14 (C.D. Cal. Jan. 7, 2015) (holding that neither “failure
          25
                 to act” nor marketing representations constitute an “affirmative act of concealment on behalf of
          26
                 Defendant”). Once again, Plaintiff offers only vague and conclusory allegations of concealment
          27
                 (FAC ¶¶ 26–27) that fail to satisfy Rule 9(b). See, e.g., Wasco Prods., Inc. v. Southwall Techs., Inc.,
          28

Gibson, Dunn &                                                      15
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                           Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 27 of 38


            1    435 F.3d 989, 991 (9th Cir. 2006) (applying Rule 9(b) to allegations of “fraudulent concealment”
            2    designed to toll the statute of limitations).
            3                Despite the opportunity for further amendment, Plaintiff continues to rely only on vague and
            4    conclusory allegations to toll her otherwise time-barred claims. These contentions are legally
            5    insufficient, and all of her warranty, fraud, statutory consumer protection, and invasion of privacy
            6    claims expired no later than September 2012 and are more than two years too late.
            7        VI.     PLAINTIFF’S STATE LAW WARRANTY, FRAUD, AND INVASION OF PRIVACY
                                           CLAIMS FAIL AS A MATTER OF LAW
            8
                             In addition to the statute of limitations bar, all of Plaintiff’s claims fail for the alternate and
            9
                 independently sufficient reason that Plaintiff has not pled several essential elements to support her
          10
                 state law claims for breach of warranty, common law fraud, statutory consumer protection/false
          11
                 advertising, or invasion of privacy.
          12
                 A.          Plaintiff Does Not State, And Cannot Pursue, Any Warranty Claim
          13
                             Plaintiff cannot pursue any claim for breach of warranty under California law (Counts IV, V,
          14
                 and VII) for several reasons:7
          15
                             First, Plaintiff cannot maintain these claims because any warranties applicable to her 2008
          16
                 Lexus RX 400h expired many years ago, and no later than September 2012. (RJN, Ex. 1 [express
          17
                 limited warranty covered 48 months or 50,000 miles, whichever occurred first].) The expiration of the
          18
                 limited express warranty bars any claim for an alleged post-warranty defect. See, e.g., Daugherty v.
          19
                 Am. Honda Motor Co., 144 Cal. App. 4th 824, 830, 833 (2006) (rejecting attempt to require
          20
                 manufacturer to repair alleged defects “outside the limits of a written warranty”); Seifi, 2013 WL
          21
                 2285339, at *4 (“[T]he warranty covers only those ‘repairs or replacements necessary’ as a result of
          22
                 something going wrong with the covered vehicle due to a defect within the specified time/mil[e]age
          23
                 limit. Since Plaintiffs do not allege that the defective gears failed during the warranty period, they
          24
                 have not stated a claim for breach of [Mercedes’] express warranty.”). Toyota also specifically limited
          25
                 7
          26       As an initial matter, it is unclear whether Plaintiff intends to assert an express or implied warranty
                 claim through “Count V—Breach of Contract/Common Law Warranty.” (FAC ¶¶ 101–105.) The
          27     FAC dropped all of Plaintiff’s federal and state statutory express warranty claims (see Compl. [Dkt. 1]
                 ¶¶ 65–76, 132–144), but whether or not Plaintiff intended to bring an express or implied warranty
          28     theory through Count V, it fails as a matter of law for the reasons discussed below. (Infra pp. 17–18.)

Gibson, Dunn &                                                            16
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 28 of 38


            1    “[a]ny implied warranty of merchantability . . . to the duration of the[] written warranties” (RJN, Ex. 1,
            2    at 17), which is consistent with California law.8 Because Plaintiff purchased her 2008 Lexus RX 400h
            3    in September 2008 (FAC ¶ 12), any implied warranty would have expired no later than September
            4    2009. See, e.g., Sharma v. BMW of N. Am., LLC, No. 13–2274–MMC, 2015 WL 75057, at *4–5 (N.D.
            5    Cal. Jan. 6, 2015) (dismissing implied warranty claim “where the goods perform[ed] as warranted
            6    during the statutorily provided period and thereafter fail[ed] to continue to so perform”); Peterson v.
            7    Mazda Motor of Am., Inc., 44 F. Supp. 3d 965, 972 (C.D. Cal. 2014) (holding that plaintiff must
            8    demonstrate that “her vehicle was unmerchantable within the implied warranty period set by the Song-
            9    Beverly Act in order to adequately plead a claim under the Song-Beverly Act”) (emphasis added).
          10            Second, to the extent Plaintiff intends to assert an express warranty claim (see supra note 7),
          11     she cannot base this claim on Toyota’s description of its vehicles as “safe” in its marketing and
          12     promotional materials (FAC ¶¶ 41–44), because those descriptions do not include the type of “specific
          13     and unequivocal” statement necessary to create an express warranty. In re Toyota Motor Corp.
          14     Unintended Acceleration Litig., 754 F. Supp. 2d 1145, 1182 (C.D. Cal. 2010); see also Smith v. LG
          15     Elecs. U.S.A., Inc., No. 13–4361–PJH, 2014 WL 989742, at *5 (N.D. Cal. Mar. 11, 2014) (“Vague
          16     statements regarding reliability, dependability, and safety are not actionable express warranties.”)
          17     (emphasis added). This claim also fails as a matter of law because Plaintiff does not even allege that
          18     she reviewed and relied upon these statements before purchasing her vehicle. See, e.g., In re Toyota
          19     Motor Corp., 754 F. Supp. 2d at 1183 (dismissing warranty claim because plaintiffs failed to allege
          20     “they heard or read these statements or that the statements were otherwise disseminated to them”); Lee
          21     v. Toyota Motor Sales, U.S.A., Inc., 992 F. Supp. 2d 962, 979 (C.D. Cal. 2014) (holding plaintiffs
          22
                 8
          23       See Cal. Civ. Code § 1791.1(c) (“The duration of the implied warranty of merchantability . . . shall
                 be coextensive with an express warranty which accompanies the consumer goods[,] but in no event
          24     shall such implied warranty have a duration of . . . more than one year following the sale of new
                 consumer goods to a retail buyer.”) (emphasis added); Tietsworth v. Sears, Roebuck & Co., 720 F.
          25     Supp. 2d 1123, 1142 (N.D. Cal. 2010) (“The duration of an implied warranty of merchantability is one
                 year if the express warranty is one year or more.”) (citing Cal. Civ. Code § 1791.1(c)); Hovsepian v.
          26     Apple, Inc., No. 08–5788–JF, 2009 WL 2591445, at *7 (N.D. Cal. Aug. 21, 2009) (“In the absence of
                 any indication in the statute that it is intended to supersede or extend Civil Code section 1791.1, we
          27     assume that [Cal. Com. Code] § 2314 does not extend the implied warranty . . . beyond the one year
                 maximum contained in Civil Code section 1791.1.”); Cal. Com. Code § 2316(2) (authorizing the
          28     exclusion or modification of the implied warranty of merchantability).

Gibson, Dunn &                                                     17
Crutcher LLP
                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 29 of 38


            1    could not base a claim on an express warranty created by statements in a marketing brochure, as they
            2    did “not allege that they read or relied on the ‘marketing brochure’ before making their purchases”).
            3    Nor does Plaintiff allege any “breach” by Toyota—she does not contend that her 2008 Lexus RX 400h
            4    was “unsafe,” that she had any problems with her vehicle, that she notified Toyota of any issues with
            5    her CAN bus unit, or that she sought any “repairs” pursuant to any warranty. As noted, Toyota’s
            6    express limited warranty covered 48 months or 50,000 miles (RJN, Ex. 1), and that warranty expressly
            7    disclaimed any damages resulting from “[a]lteration or tampering” (id. at 19), so Plaintiff cannot assert
            8    a preemptive “breach of warranty” claim based on a “hack” that has not yet occurred.9
            9           Third, the Ninth Circuit has held that if a product is “fit for ordinary purposes for which such
          10     goods are used,” there is no breach of the implied warranty of merchantability. Birdsong, 590 F.3d
          11     at 958. See also Cal. Com. Code § 2314(2)(c) (“[T]o be merchantable,” goods “must be at least such
          12     as . . . [a]re fit for ordinary purposes for which such goods are used”); Cal. Civ. Code § 1791.1(a)
          13     (same). Here, Plaintiff cannot assert a claim for breach of the implied warranty of merchantability
          14     (Counts IV and VII) because she has failed to plead, and cannot plausibly amend her complaint to
          15     contend, that her vehicle was not fit for the ordinary purpose for which it was intended—namely,
          16     transportation. As another court in this District explained, “[i]n the case of automobiles, the implied
          17     warranty of merchantability can be breached only if the vehicle manifests a defect that is so basic it
          18     renders the vehicle unfit for its ordinary purpose of providing transportation.” See, e.g., Taragan v.
          19     Nissan N. Am., Inc., No. 09–3660–SBA, 2013 WL 3157918, at *4 (N.D. Cal. June 20, 2013) (quoting
          20     Am. Suzuki Motor Corp. v. Super. Ct., 37 Cal. App. 4th 1291, 1296 (1995)).
          21            In Taragan, the plaintiffs alleged that Nissan’s vehicles were “not merchantable because there
          22     [was] a ‘risk’ that vehicles equipped with the Intelligent Key system [would] roll away if the operator
          23     fail[ed] to place the transmission in park after shutting off the engine.” 2013 WL 3157918, at *4.
          24     Notably, as in this case, “none of the Plaintiffs ha[d] actually experienced a rollaway incident” in
          25
                 9
          26        Nor can Plaintiff base any breach of an express warranty on an allegation that her vehicle’s CAN
                 bus unit was defectively “designed” (see, e.g., FAC ¶ 27), because elsewhere she admits that Toyota
          27     warranted only against defects in “materials or workmanship” (id. ¶ 103), and “[i]n California,
                 express warranties covering defects in materials and workmanship exclude defects in design.” Troup
          28     v. Toyota Motors Corp., 545 F. App’x 668, 668–69 (9th Cir. 2013) (emphasis added).

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 30 of 38


            1    Taragan. Id. The court explained that “it is not enough to allege that a product line contains a defect
            2    or that a product is at risk for manifesting this defect; rather, the plaintiffs must allege that their
            3    product actually exhibited the alleged defect.” Id. (emphases added). Similarly, Plaintiff merely
            4    alleges that a third party “could” engage in criminal conduct to “hack” her vehicle (FAC ¶ 4), but she
            5    does not allege that this has occurred. These allegations are legally insufficient. See, e.g., Birdsong,
            6    590 F.3d at 959 (upholding dismissal of an implied warranty of merchantability claim because
            7    “plaintiffs do not allege the iPods failed to do anything they were designed to do nor do they allege
            8    that they, or any others, have suffered or are substantially certain to suffer inevitable hearing loss or
            9    other injury from iPod use”); Am. Suzuki, 37 Cal. App. 4th at 1298 (rejecting plaintiffs’ argument that
          10     “a remote fear or expectation of failure is sufficient to establish non-merchantability”).
          11             Fourth, Plaintiff purchased her “new 2008 Lexus RX 400 H from an authorized Lexus dealer
          12     in San Rafael, California” (FAC ¶ 12), and thus she lacks privity with Toyota. As the Ninth Circuit
          13     has held, an “end consumer such as [plaintiff] who buys from a retailer is not in privity with a
          14     manufacturer,” and “[a] lack of vertical privity requires the dismissal of [plaintiff’s] implied warranty
          15     claims.” Clemens, 534 F.3d at 1023–24 (dismissing plaintiff’s implied warranty claim for lack of
          16     privity even though plaintiff purchased his vehicle from an “independent Dodge dealership”); see also
          17     Osborne v. Subaru of Am. Inc., 198 Cal. App. 3d 646, 656 & n.6 (1988) (noting that California law
          18     requires vertical privity and holding that vehicle owners were foreclosed from recovering against
          19     manufacturer on an implied warranty of merchantability claim).
          20             The FAC attempts to sidestep the privity requirement by alleging that Plaintiffs “are intended
          21     third-party beneficiaries of contracts between Defendants and their dealers; specifically, they are the
          22     intended beneficiaries of Defendants’ warranties.” (FAC ¶ 98.) But as this Court has held, the Ninth
          23     Circuit “does not recognize the [third-party beneficiary] exception under California law.” Long v.
          24     Graco Children’s Prods., Inc., No. 13–01257–WHO, 2013 WL 4655763, at *12 (N.D. Cal. Aug. 26,
          25     2013) (citing Clemens, 534 F.3d at 1024); see also id. (rejecting decisions purporting to create a
          26     “third-party beneficiary” exception, because they “are not binding on the Court whereas Clemens is”).
          27     As the Ninth Circuit explained, “California courts have painstakingly established the scope of the
          28     privity requirement under California Commercial Code section 2314, and a federal court sitting in

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 31 of 38


            1    diversity is not free to create new exceptions to it.” Clemens, 534 F.3d at 1024.10
            2    B.     Plaintiff Also May Not Pursue Derivative Warranty Claims Through Her California
                        Consumer Protection Or Fraud Claims
            3
                        Next, Plaintiff asserts that Toyota violated the UCL, CLRA, and FAL (Counts I, II, III) and
            4
                 engaged in common law “fraud by concealment” (Count VI) by failing to disclose the alleged “defect”
            5
                 in its CAN bus system. (FAC ¶¶ 65(a), 81, 89, 111, 114.) Under binding California law, however, the
            6
                 omission of a fact that the defendant was not bound to disclose does not support a claim. See, e.g.,
            7
                 Daugherty, 144 Cal. App. 4th at 839; Morgan v. Harmonix Music Sys., Inc., No. 08–5211, 2009 WL
            8
                 2031765, at *5 (N.D. Cal. July 7, 2009) (“[A]bsent a duty to disclose, the failure to do so does not
            9
                 support a claim under the fraudulent prong of the UCL.”); Bardin v. DaimlerChrysler Corp., 136 Cal.
          10
                 App. 4th 1255, 1276 (2006) (rejecting plaintiff’s CLRA claim because the complaint did not allege
          11
                 facts showing that defendant was “bound to disclose” the allegedly concealed fact).
          12
                        If Plaintiff seeks to base a claim on the alleged failure to notify customers of a supposed
          13
                 “defect,” she must allege that (1) the purported defect poses “an unreasonable safety hazard” and
          14
                 (2) the defendant “was aware of [the] defect at the time of sale.” Wilson v. Hewlett-Packard Co., 668
          15
                 F.3d 1136, 1142–43, 1145 (9th Cir. 2012) (emphasis added); Daugherty, 144 Cal. App. 4th at 835–36
          16
                 (same). Both requirements are necessary to impose a legal duty on the defendant to disclose the
          17
                 alleged “defect,” Wilson, 668 F.3d at 1142–43, 1145–46, but Plaintiff cannot establish either of them:
          18
                        First, the FAC contends that because Toyota “failed to ensure the basic electronic security of
          19
                 [its] vehicles, control of the basic functions of the vehicle can be taken by others not behind the wheel
          20
                 or necessarily even in the car, which can endanger the safety of the driver and others.” (FAC ¶ 2.)
          21
                 Although Plaintiff alleges in a conclusory manner that the alleged “defect” presents a safety hazard
          22
                 10
          23        Plaintiff’s conclusory allegation that “privity is also not required because [her vehicle is a]
                 dangerous instrumentalit[y] due to the aforementioned defects and nonconformities” (FAC ¶ 99)
          24     cannot excuse her from the privity requirement here. As an initial matter, she does not substantiate
                 this far-fetched claim with any facts, and it is implausible that Plaintiff enjoyed the use of her vehicle
          25     for nearly seven years while it operated as a “dangerous instrumentalit[y].” Further, courts have
                 explained that this limited exception applies to a defendant’s employees, not its customers. See, e.g.,
          26     Jones v. ConocoPhillips, 198 Cal. App. 4th 1187, 1201 (2011) (“[T]he strict requirement of privity has
                 also been excused when an inherently dangerous instrumentality causes harm to a buyer’s
          27     employee.”); Xavier v. Philip Morris USA, Inc., 787 F. Supp. 2d 1075, 1083–84 (N.D. Cal. 2011)
                 (noting that the “dangerous instrumentalities” exception to privity was limited to addressing “injur[ies]
          28     to an employee of the purchaser of the allegedly dangerous item”).

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 32 of 38


            1    (id.), she alleges no real-world incident in which such a risk has ever manifested or is even likely to
            2    occur. An abstract and hypothetical risk does not trigger a “duty to disclose.”
            3            For example, in Birdsong, Apple iPod users alleged that their portable music devices created a
            4    risk of hearing loss because there were no warnings or volume limits that kept the decibel levels at a
            5    safe range. The Ninth Circuit recognized that this was a potential risk in the abstract, but it
            6    nonetheless dismissed the plaintiffs’ UCL claim because “they [did] not claim that they, or anyone
            7    else, [had] suffered” the alleged injury. 590 F.3d at 961. Here, as in Birdsong, Plaintiff has failed to
            8    plead facts showing that “any identifiable member of the putative class actually experienced a
            9    malfunction” where the alleged safety consequences manifested. Tietsworth, 720 F. Supp. 2d at 1133–
          10     34. Instead, she merely alleges that “if an outside source, such as a hacker, were able to send CAN
          11     packets to ECUs on a vehicle’s CAN bus, the hacker could . . . take control of basic functions of the
          12     vehicle away from the driver.” (FAC ¶ 4 (emphases added).) These speculative fears are
          13     indistinguishable from a claim that a vehicle’s tires are dangerously “defective” because they are
          14     capable of being slashed, or that a windshield poses an “unreasonable safety hazard” because someone
          15     could maliciously shatter it with a baseball bat. The Ninth Circuit rejected another plaintiff’s attempt
          16     to use a speculative, future injury as sufficient to establish a “safety” issue:
          17                 Plaintiffs contend that the failure rate of the Focus ignition locks was related to
                             safety because a defective lock may prevent the driver from starting the engine,
          18                 thereby leaving the driver stranded on the roadway, or may prevent the engine
                             from being shutoff, rendering the vehicle vulnerable to runaway or theft. We agree
          19                 with the district court that the “safety” concerns raised by plaintiffs were too
                             speculative, as a matter of law, to amount to a safety issue giving rise to a duty of
          20
                             disclosure.
          21     Smith v. Ford Motor Co., 462 F. App’x 660, 663 (9th Cir. 2011) (emphasis added). This is an even
          22     weaker case, because Toyota expressly disclaimed any warranty against vehicle intrusion: “This
          23     warranty does not cover damage or failures resulting directly or indirectly from any of the
          24     following: . . . Alteration or tampering . . . .” (RJN, Ex. 1 at 19 (emphasis added).)
          25             Second, Plaintiff does not contend that Toyota “knew of the alleged defect at the time of sale.”
          26     Wilson, 668 F.3d at 1148. Although she generally claims that Toyota knew about the alleged “defect”
          27     (FAC ¶¶ 5, 36), she does not identify a single fact to support that conclusory allegation (see, e.g., Lee,
          28     992 F. Supp. 2d at 973 (rejecting plaintiff’s “conclusory allegations” as “insufficient”)) nor does she

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 33 of 38


            1    allege that Toyota was aware of the purported problem at the time of sale in 2008 (see Elias v.
            2    Hewlett-Packard Co., 950 F. Supp. 2d 1123, 1138 (N.D. Cal. 2013) (dismissing CLRA, UCL, and
            3    common law fraud claims because plaintiff “has not sufficiently alleged enough facts to support an
            4    inference that [defendant] knew of the power inadequacies at the time of sale” and as a result, he failed
            5    to allege that defendant “‘intentionally’ concealed or suppressed this information”)).11
            6           Plaintiff’s “fraud by concealment” claim (Count VI) fails for the same reasons. As explained
            7    immediately above (supra pp. 20–22), Plaintiff cannot plead with particularity that Toyota had a “duty
            8    to disclose” the alleged “defect” because she cannot show that the problem materialized, that it poses
            9    an unreasonable safety hazard, and that Toyota knew about it at the time of sale. See, e.g., Lee, 992 F.
          10     Supp. 2d at 977; Elias, 950 F. Supp. 2d at 1136–37.
          11     C.     Plaintiff Does Not Allege A Sufficiently “Serious” Invasion To Support A Privacy Claim
          12            Finally, Plaintiff’s “invasion of privacy” claim under the California Constitution (Count VIII;
          13     FAC ¶¶ 132–138) also fails as a matter of law. As the Supreme Court of California has explained,
          14     the constitutional “right of privacy protects the individual’s reasonable expectation of privacy against
          15     a serious invasion.” Pioneer Elec. (USA), Inc. v. Super. Ct., 40 Cal. 4th 360, 370 (2007) (emphases
          16     added); see also In re iPhone App. Litig., 844 F. Supp. 2d 1040, 1063 (N.D. Cal. 2012) (“Actionable
          17     invasions of privacy must be sufficiently serious in their nature, scope, and actual or potential impact
          18     to constitute an egregious breach of the social norms underlying the privacy right.”) (internal
          19     quotations and citation omitted; emphasis added). As one court explained, “[e]ven negligent conduct
          20     that leads to theft of highly personal information, including social security numbers, does not
          21     ‘approach [the] standard’ of actionable conduct under the California Constitution and thus does not
          22     constitute a violation of [a plaintiff’s] right to privacy.” In re iPhone App. Litig., 844 F. Supp. 2d at
          23     1063 (quoting Ruiz v. Gap, Inc., 540 F. Supp. 2d 1121, 1128 (N.D. Cal. 2008)).
          24
                 11
          25        Ms. Cahen’s only allegation regarding Toyota’s knowledge is conclusory, implausible, and post-
                 dates the relevant time period (her 2008 purchase) by several years: “Before the researchers went
          26     public with their 2013 findings, they shared the results with Toyota and Ford in the hopes that the
                 companies would address the identified vulnerabilities. The companies, however, did not.” (FAC
          27     ¶ 38.) Not only does Plaintiff fail to identify a single fact to support her conclusory allegation, but
                 even if true, she bought her vehicle five years before the findings allegedly put Toyota on “notice” of a
          28     potential hacking risk. These pleaded facts foreclose any out-of-warranty UCL, FAL, or CLRA claim.

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 34 of 38


            1           To state a claim for invasion of the constitutional right to privacy, Plaintiff must plead (and
            2    prove) three elements: “(1) a legally protected privacy interest; (2) a reasonable expectation of
            3    privacy in the circumstances; and (3) conduct by defendant constituting a serious invasion of
            4    privacy.” Hill v. Nat’l Coll. Athletic Ass’n, 7 Cal. 4th 1, 39–40 (1994) (emphasis added). These
            5    elements are intended to “weed out claims that involve so insignificant or de minimis an intrusion on
            6    a constitutionally protected privacy interest as not even to require an explanation or justification by
            7    the defendant.” Loder v. City of Glendale, 14 Cal. 4th 846, 893 (1997) (emphasis added).
            8           Plaintiff’s conclusory allegations do not come close to meeting this high bar. For starters, her
            9    allegations do not even identify the specific “personal data” that Defendants allegedly “collected and
          10     transmitted to third parties.” (FAC ¶¶ 135–36.) This Court rejected a similarly conclusory “invasion
          11     of privacy” claim because the plaintiff did “not adequately allege[] what, if any, offensive and
          12     objectionable facts about her were disclosed to third parties.” Banga v. Equifax Info. Servs., LLC,
          13     No. 14–03038–WHO, 2015 WL 3799546, at *11 (N.D. Cal. June 18, 2015).
          14            But even if Plaintiff overcame this hurdle, she cannot establish a “reasonable expectation of
          15     privacy” in the unspecified “personal data,” because she concedes that “Defendants” disclosed the
          16     alleged “data collection” practices (whatever they were) “in owners’ manuals, online ‘privacy
          17     statements,’ and terms & conditions of specific feature activations . . . .” (FAC ¶ 50.) See, e.g., Hill,
          18     7 Cal. 4th at 42 (collegiate athletes had no reasonable expectation of privacy in the observation of
          19     their urination for purposes of drug testing, given previous disclosures of drug testing procedures at
          20     beginning of athletic season); Pioneer, 40 Cal. 4th at 372 (finding that plaintiffs, “having already
          21     voluntarily disclosed their identifying information to [defendant] in the hope of obtaining some form
          22     of relief, would [not] have a reasonable expectation that such information would be kept private”); In
          23     re Yahoo Mail Litig., 7 F. Supp. 3d 1016, 1041 (N.D. Cal. 2014) (rejecting generalized claim that
          24     plaintiffs had a “reasonable expectation of privacy” in all of their email messages).
          25            Next, the FAC broadly identifies only two general categories of “personal data,” neither of
          26     which can support a claim for a “serious invasion of privacy.” Hill, 7 Cal. 4th at 40 (emphasis
          27     added). First, Plaintiff contends that Toyota and the other Defendants collected “the geographic
          28     location of [her] vehicle.” (FAC ¶ 135.) But sharing a vehicle’s location is not a “sufficiently

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 35 of 38


            1    serious” invasion that would constitute “an egregious breach of the social norms underlying the
            2    privacy right.” Hill, 7 Cal. 4th at 37 (emphasis added). Courts in this District have ruled that the
            3    disclosure of location data does not constitute an “egregious” breach of social norms and is, therefore,
            4    legally insufficient to support an invasion of privacy claim. See, e.g., In re iPhone App. Litig., 844 F.
            5    Supp. 2d at 1063 (holding that the disclosure to third parties of “unique device identifier number[s],
            6    personal data, and geolocation information” from plaintiffs’ cellphones did “not constitute an
            7    egregious breach of social norms” even if the information “was transmitted without [p]laintiffs’
            8    knowledge and consent”); Yunker v. Pandora Media Inc., No. 11−03113−JSW, 2013 WL 1282980,
            9    at *15 (N.D. Cal.) (holding that disclosure of plaintiffs’ personally identifiable information, including
          10     geolocation data, “to advertising libraries for marketing purposes” was insufficient to “allege that
          11     Pandora’s conduct constitutes an egregious breach of social norms”), and 2014 WL 988833, at *5
          12     (N.D. Cal. Mar. 10, 2014) (dismissing amended right to privacy claim with prejudice “for the reasons
          13     set forth in its previous order”). Likewise, California courts have held that an individual’s location
          14     “is not the type of core value, informational privacy explicated in Hill.” Fredenberg v. City of
          15     Fremont, 119 Cal. App. 4th 408, 423 (2004); see also Folgelstrom v. Lamps Plus, Inc., 195 Cal.
          16     App. 4th 986, 992 (2011) (“Here, the supposed invasion of privacy essentially consisted of
          17     [defendant] obtaining plaintiff’s address without his knowledge or permission, and using it to mail
          18     him coupons and other advertisements. This is not an egregious breach of social norms, but routine
          19     commercial behavior.”) (emphasis added).
          20            Second, Plaintiff also alleges that “[a]s detailed in Sen. Markey’s report, Defendants collect
          21     large amounts of data on driving history and vehicle performance, and they transmit the data to third-
          22     party data centers without effectively securing the data.” (FAC ¶ 50.) As an initial matter, the cited
          23     report does not identify which manufacturer engaged in this conduct, and Plaintiff does not allege
          24     that Toyota collected and/or shared “driving history and vehicle performance” data. (Id.) Without
          25     any specific allegation against Toyota that implicates a serious invasion, Plaintiff cannot meet her
          26     burden. See, e.g., White v. Social Security Admin., No. 14–05604–JST, 2015 WL 3902789, at *7
          27     (N.D. Cal. June 24, 2015) (holding that “unauthorized photocop[ying] of identity documents, without
          28     any allegation that [defendant] sold, distributed, or otherwise improperly used the information, does

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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 36 of 38


            1    not rise to the level of a ‘highly offensive disclosure of information nor a serious invasion of a
            2    privacy interest’”); Belluomini v. Citigroup, Inc., No. 13–01743–CRB, 2013 WL 5645168, at *3
            3    (N.D. Cal. Oct. 16, 2013) (rejecting claims that sharing of plaintiff’s “address and identity” stated an
            4    invasion of privacy claim, and reiterating earlier order that if the “disclosure of individual’s social
            5    security numbers does not constitute an ‘egregious breach,’ it certainly cannot be the case that
            6    disclosure of contact information constitutes an ‘egregious breach’”). Moreover, collecting “driving
            7    history and vehicle performance” (even if true) would not rise to the level of a “serious” invasion to
            8    support a constitutional privacy claim. (Supra pp. 23–24.)
            9                                             VII.    CONCLUSION
          10              This action rests on a purely hypothetical, future injury that depends on the malicious acts of
          11     sophisticated criminals. Pursuant to binding Supreme Court and Ninth Circuit precedent, Plaintiff has
          12     not alleged sufficient “injury in fact” to satisfy Article III of the United States Constitution, and she
          13     may not cure this threshold problem with further amendment. On top of this threshold legal defect,
          14     Plaintiff’s California law claims are time-barred and her complaint fails to state any warranty,
          15     consumer protection, or invasion of privacy claim as a matter of law.
          16              Toyota respectfully requests the Court dismiss this action with prejudice.
          17

          18     DATED: August 28, 2015                          GIBSON, DUNN & CRUTCHER LLP
          19                                                     By:
                                                                                 Christopher Chorba
          20
                 101980989.11                                    Attorneys for Defendants Toyota Motor Corporation
          21                                                     and Toyota Motor Sales, U.S.A., Inc.
                                                                 Email: CChorba@gibsondunn.com
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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                     Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 37 of 38


            1                                      CERTIFICATE OF SERVICE
            2           I, Tiaunia Bedell, declare as follows:
            3           I am employed in the County of Los Angeles, State of California, I am over the age of
                 eighteen years and am not a party to this action; my business address is 333 South Grand Avenue,
            4    Los Angeles, CA 90071-3197, in said County and State. On August 28, 2015, I served the following
                 document(s):
            5
                       DEFENDANTS TOYOTA MOTOR CORPORATION AND TOYOTA MOTOR
            6           SALES, U.S.A., INC.’S NOTICE OF MOTION AND MOTION TO DISMISS
                            PLAINTIFFS’ FIRST AMENDED COMPLAINT; SUPPORTING
            7                     MEMORANDUM OF POINTS AND AUTHORITIES
            8    on the parties stated below, by the following means of service:
            9           Marc R. Stanley                                        Attorneys for Plaintiffs Helene
                        Stanley Iola, LLP                                      Cahen, Kerry J. Tompulis,
          10            3100 Monticello Avenue, Suite 750                      Merrill Nisam, Richard Gibbs,
                        Dallas, Texas 75205                                    and Lucy L. Langdon
          11
                        Martin Darren Woodward                                 Attorneys for Plaintiffs Helene
          12            Stanley Law Group                                      Cahen, Kerry J. Tompulis,
                        6116 North Central Expy, Suite 1500                    Merrill Nisam, Richard Gibbs,
          13            Dallas, TX 75206                                       and Lucy L. Langdon

          14            Matthew J. Zevin                                      Attorneys for Plaintiffs Helene
                        Stanley Law Group                                     Cahen, Kerry J. Tompulis,
          15            10021 Willow Creek Rd, Suite 200                      Merrill Nisam, Richard Gibbs,
                        San Diego, California 92131                           and Lucy L. Langdon
          16
                        Donald H. Slavik                                      Attorneys for Plaintiffs Helene
          17            Slavik Law Firm, LLC                                  Cahen, Kerry J. Tompulis,
                        2834 Blackhawk Court                                  Merrill Nisam, Richard Gibbs,
          18            Steamboat Springs, Colorado 80487                     and Lucy L. Langdon
          19            Michael Mallow                                        Attorneys for Defendant Ford
                        Liv Kiser                                             Motor Corporation
          20            Sidley Austin LLP
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          22            Gregory Oxford                                        Attorneys for Defendant
                        Isaacs Clouse Crose & Oxford LLP                      General Motors LLC
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                        Torrance, California 90503
          24
                        Douglas Warren Sullivan                               Attorneys for Defendant
          25            Crowell & Moring LLP                                  General Motors LLC
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                        San Francisco, CA 94111
          27
                        Cheryl Adams Falvey                                   Attorneys for Defendant
          28            Kathleen Taylor Sooy                                  General Motors LLC
                        Rebecca Baden Chaney
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                 TOYOTA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                 CASE NO. 15-CV-01104-WHO
                      Case 3:15-cv-01104-WHO Document 49 Filed 08/28/15 Page 38 of 38


            1             1001 Pennsylvania Avenue
                          Washington, DC 20004
            2

            3         BY UNITED STATES MAIL: I placed a true copy in a sealed envelope or package addressed to the persons as
                       indicated above, on the above-mentioned date, and placed the envelope for collection and mailing, following our
            4          ordinary business practices. I am readily familiar with this firm's practice for collecting and processing
                       correspondence for mailing. On the same day that correspondence is placed for collection and mailing, it is
            5          deposited with the U.S. Postal Service in the ordinary course of business in a sealed envelope with postage fully
                       prepaid. I am aware that on motion of party served, service is presumed invalid if postal cancellation date or postage
            6          meter date is more than one day after date of deposit for mailing set forth in this declaration.

            7          I am a resident or employed in the county where the mailing occurred. The envelope or package was placed in the
                       mail at Los Angeles, California.
            8
                      BY ELECTRONIC TRANSFER TO THE CM/ECF SYSTEM: On this date, I electronically uploaded a true
            9          and correct copy in Adobe “pdf” format the above-listed document(s) to the United States District Court’s Case
                       Management and Electronic Case Filing (CM/ECF) system. After the electronic filing of a document, service is
          10           deemed complete upon receipt of the Notice of Electronic Filing (“NEF”) by the registered CM/ECF users.

          11          I am employed in the office of Christopher Chorba, a member of the bar of this court, and that the foregoing
                       document(s) was(were) printed on recycled paper.
          12
                      (FEDERAL)         I declare under penalty of perjury that the foregoing is true and correct.
          13

          14              Executed on August 28, 2015.
          15
                                                                        __________/s/ Tiaunia Bedell
          16                                                                            Tiaunia Bedell
          17     101980989.11

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                 CASE NO. 15-CV-01104-WHO
